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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS



GABRIEL GARAVANIAN, et al.,

                   Plaintiffs,
                                                       Civil Action No. 1:23-cv-10678-WGY
       v.

JETBLUE AIRWAYS CORPORATION and
SPIRIT AIRLINES, INC.,

                   Defendants.


                          JOINT MOTION TO SUSPEND DEADLINES


       Pursuant to paragraph 27 of the Court’s Scheduling and Case Management Order (Dkt. 96)

(“CMO”), the Parties jointly move the Court for an order suspending two deadlines in the CMO. In

support of this Joint Motion, the Parties state as follows:

       1.      There are two deadlines in the Court’s CMO that should be suspended until after

the trial in the DOJ action:

                   a. The Parties’ Trial Briefs (Dkt. 96 at 5); and

                   b. The Parties’ trial exhibits, which are due to the Court on October 16, 2023,
                      (Dkt. 96 at 5).

       2.      During the hearing conducted by the Court on Wednesday, October 4, 2023, the

Court denied Plaintiffs’ Motion to Consolidate Trial (Dkt. 266). See also Dkt. 309 (clerk’s notes

indicating Motion to Consolidate Trial was denied).

       3.      Because the Court has not set a trial date in this matter, and because the DOJ trial

may impact the issues to be tried in this case, the Parties believe that a suspension of these two

CMO deadlines is in the interest of judicial economy and the Parties’ interests in the efficient use

of their own resources.
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       4.      The DOJ action, United States v. JetBlue Airways Corp., No. 1:23-cv-10511-WGY,

will proceed to trial on October 23, 2023. The deadline for filing Proposed Findings of Fact in the

DOJ action is November 17, 2023. Dkt. 79 at 4; see also Dkt. 191 at ¶ 51. The Parties propose

that they submit a joint status report to the Court within 7 days of the Defendants filing the

Proposed Findings of Fact in the DOJ action.

       WHEREFORE, the Parties respectfully request that this Court suspend these two CMO

deadlines.




Dated: October 12, 2023                          Respectfully submitted,

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                            LOCAL RULE 7.1(a)(2) CERTIFICATION

           I, Elizabeth M. Wright, hereby certify that pursuant to Local Rule 7.1(a)(2), counsel for

all Parties conferred in good faith before filing this Motion and have agreed to submit this Motion

jointly.

                                                       /s/ Elizabeth M. Wright
                                                       Elizabeth M. Wright




                                  CERTIFICATE OF SERVICE

           IT IS HEREBY CERTIFIED that on this 12th day of October, 2023, the foregoing

document was filed through the ECF system and will be sent electronically to the registered

participants on the Notice of Electronic Filing and paper copies will be sent to any non-registered

participants.

                                                       /s/ Elizabeth M. Wright
                                                       Elizabeth M. Wright




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